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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WILLIAM HOLT                                  :
                                              :
       v.                                     :      CIVIL ACTION NO. 23-5046
                                              :
SIMONS AGENCY INC.                            :

                                            ORDER

       This 29th day of        February , 2024, it having been reported that the above captioned

action has been settled, it is ORDERED that the above captioned action is DISMISSED with

prejudice, pursuant to agreement of counsel without costs.

       Notwithstanding this dismissal, pursuant to Rule 41.1(b) of the Local Rules of Civil

Procedure, this order of dismissal may be vacated, modified, or stricken from the record, for

cause shown, upon the application of any party served within ninety (90) days of the entry of

such order of dismissal, provided the application of the ninety-day time limitation is consistent

with Federal Rule of Civil Procedure 60(c).


                                                  GEORGE WYLESOL, Clerk of Court


                                                  BY:         /s/ Patricia Clark
                                                             Patricia Clark
                                                             Civil Deputy to Judge McHugh

Copies EMAILED on 2/29/24         to:

cc:    All counsel of record
